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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )         4:09CR3088
                     Plaintiff,                 )
                                                )
       vs.                                      )
                                                )         ORDER
OMAR RAMIREZ GONZALEZ,                          )
                                                )
                     Defendant.                 )


       IT IS ORDERED that:


       (1)    The government’s request for hearing (filing 90) is granted.


       (2)    A hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filing 84) has been set before the undersigned United States district judge on
Friday, March 16, 2012, at 12:30 p.m., in Courtroom No. 2, United States Courthouse and
Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.


       (3)    At the request of the defendant through his counsel, the defendant will
participate in the hearing by telephone.


       (4)    The Marshal is directed not to return the defendant to the district.


       (5)    The defendant is held to have waived his right to be present.

       Dated March 1, 2012.

                                             BY THE COURT:

                                             Richard G. Kopf
                                             Senior United States District Judge
